
680 S.E.2d 717 (2009)
Arthur O. ARMSTRONG
v.
Superior Court Trial Judge Milton F. FITCH, Jr.
No. 501P06-5.
Supreme Court of North Carolina.
July 13, 2009.
Arthur O. Armstrong, for Armstrong.
Milton F. Fitch, Superior Court Judge, for Milton F. Fitch, Jr.
Thomasine E. Moore, Jacksonville, for Nina A. Knight.

ORDER
Upon consideration of the petition filed by Defendant on the 9th of July 2009 in this matter for a writ of mandamus, the following order was entered and is hereby certified to the Superior Court, Wilson County:
Dismissed by order of the Court in Conference this the 13th of July 2009.
